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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.:

  JOE SANTIAGO,

                Plaintiff,

  vs.

  OCWEN LOAN SERVICING, LLC,

             Defendant.
 ________________________________________/

                                          COMPLAINT

         COMES NOW, the Plaintiff, Joe Santiago (“Plaintiff”), by and through undersigned

 counsel, and brings this action against the Defendant, Ocwen Loan Servicing, LLC (“Ocwen”)

 and as grounds thereof would allege as follows:

                                        INTRODUCTION

        1.      This action is brought by a consumer for Ocwen’s violations of the Telephone

 Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”), the Fair Debt Collection Practices

 Act, 15 U.S.C. § 1692 et seq., (“FDCPA”) and Florida Statutes §§ 559.55-559.785, a/k/a the

 “Florida Consumer Collection Practices Act” (“FCCPA”).

        2.      The TCPA prohibits any person “to make any call (other than for emergency

 purposes or made with the prior consent of the called party) using any automatic telephone

 dialing system or any artificial or prerecorded voice – (iii) to any telephone number assigned to a

 paging service, cellular telephone service, specialized mobile radio service, or other radio

 common carrier service, or any service for which the called party is charged for the call.” 47

 U.S.C. § 227(b)(1)(A).



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      3.         The FDCPA and FCCPA prevent debt collectors and persons, respectively, from

 engaging in abusive, deceptive, and unfair collection practices.

      4.         Plaintiff alleges that Ocwen has unlawfully called his cellular telephone in an

 attempt to collect an alleged debt from his in direct contravention of the aforesaid statutes.

 Consequently, Plaintiff seeks injunctive relief, as well as statutory damages, actual damages,

 attorneys’ fees, and costs, in accordance with the aforementioned statutes where applicable.

                                  JURISDICTION AND VENUE

      5.         This court has jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C. § 227. Federal

 courts have jurisdiction over private suits arising under the TCPA. Mims v. Arrow Financial

 Services, LLC, 132 S. Ct. 740 (2012).

      6.         Under 28 U.S.C. § 1367(a), this court has supplemental jurisdiction over

 Plaintiff's state law FCCPA claim in that it is so related to the federal TCPA and FDCPA claim

 that they form part of the same case or controversy under Article III of the United States

 Constitution.

      7.         Venue in this District is proper because Plaintiff resides here and Ocwen does

 business and places phone calls into this District.

                                              PARTIES

      8.         At all times relevant to this Complaint, Ocwen was and is a foreign limited

 liability company, with its principal place of business at 1661 Worthington Rd, Suite 100, West

 Palm Beach, FL 33409.

      9.         At all times relevant to this Complaint, Ocwen was and is a “person” as said term

 is defined under Florida Statute §1.01(3).

      10.        At all times relevant to this Complaint, Ocwen regularly uses the mail and




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 telephone in a business for the purpose of collecting consumer debts.

      11.       At all times relevant to this Complaint, Ocwen regularly collects or attempts to

 collect debts for other parties and is a “debt collector” as said term is defined under 15 U.S.C. §

 1692a(6) and Florida Statute § 559.55(7).

      12.       At all times relevant to this Complaint, Ocwen has used, controlled, and/or

 operated “automatic telephone dialing systems” as defined by the TCPA. 47 U.S.C. § 227(a)(1)

 and 47 C.F.R. § 64.1200(f)(2).

      13.       At all times relevant to this Complaint, Plaintiff, was and is a natural person, and

 is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3) and Florida Statutes §559.55(8),

 and/or a person with standing to bring a claim under the FCCPA, FDCPA and the TCPA by

 virtue of being directly affected by violations of the Act.

      14.       At all times material hereto, the debt in question was a “debt” as said term is

 defined under 15 U.S.C. § 1692a(5) and Florida Statute § 559.55(6).

                          BACKGROUND AND GENERAL ALLEGATIONS

      15.       Ocwen sought to collect a debt from Plaintiff arising from an alleged mortgage

 loan debt (the “Debt”) incurred by Plaintiff for personal, family, or household purposes.

      16.       Upon information and belief, Ocwen, by and through its agents, representatives

 and/or employees acting within the scope of their authority, attempted to collect the Debt from

 Plaintiff by using an automatic telephone dialing system to place numerous telephone calls to

 Plaintiff’s cellular telephone, (954) XXX-4717 and/or employed prerecorded or machine-

 operated voice message in connection with said calls.

      17.       Upon answering any of these calls, Plaintiff would be greeted by an automated,

 machine-operated voice message or a noticeable period of “dead air” while the caller’s auto-




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 dialing system attempted to connect the Plaintiff to a live telephone employee.

      18.       Plaintiff is the sole owner, possessor, subscriber and user of the cellular telephone

 that Ocwen was calling.

      19.       Ocwen’s calls originated from various numbers including but not limited to 800-

 746-2936.

      20.       Ocwen called Plaintiff a multitude of times in a campaign designed to apply

 maximum psychological stress with the aim of pressuring Plaintiff into paying the Debt.

 Ocwen’s calling campaign included multiple calls a day and/or calls on back-to-back days. A

 sampling of Ocwen’s campaign include, but are not limited to, calls placed on:

             a. October 22, 2018 at 3:30 p.m.

             b. October 27, 2018 at 2:51 p.m.

             c. October 30, 2018 at 2:26 p.m.

             d. November 1, 2018 at 2:49 p.m.

             e. November 6, 2018 at 2:03 p.m.

             f. November 8, 2018 at 2:07 p.m.

             g. November 12, 2018 at 2:07 p.m.

             h. November 14, 2018 at 2:23 p.m.

      21.       Ocwen’s placement of telephone calls to Plaintiff’s cellular telephone were

 unsolicited and incessant.

      22.       Plaintiff was damaged by these unlawful calls. Plaintiff’s privacy was improperly

 invaded, his peace was disturbed, he was distracted, his cellular telephone’s battery and memory

 were taxed, his cellular telephone line was tied-up, and he was forced to spend precious time and

 mental energy tending to unwanted calls.




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      23.       None of Ocwen’s telephone calls placed to Plaintiff were for “emergency

 purposes” as specified in 47 U.S.C. §227(b)(1)(A).

      24.       Upon information and belief, Ocwen knew that its calling techniques were in

 violation of the TCPA, yet Ocwen still continued to use them in willful or knowing violation of

 the TCPA.

            COUNT I-VIOLATION OF FCCPA, FLORIDA STATUTES §559.72(7)

      25.       Plaintiff repeats, realleges and incorporates by reference herein paragraphs 1

 through 24 above.

      26.       Florida Statutes §559.72(7) states:

                “In collecting debts, no person shall…
                (7) Willfully communicate with the debtor or any member of her or
                his family with such frequency as can reasonably be expected to
                harass the debtor or her or his family, or willfully engage in other
                conduct which can reasonably be expected to abuse or harass the
                debtor or any member of her or his family.

      27.       Ocwen has on many occasions called Plaintiff by telephone directly, multiple

 times a day, attempting to collect the Debt. By virtue of having to handle debt collection calls to

 Plaintiff's cellular phone multiple times a day, Plaintiff has been harassed and these calls have

 caused unnecessary strain and burden upon Plaintiff and Plaintiff’s family.

      28.       Ocwen’s actions of calling Plaintiff continuously and regularly day after day,

 multiple times a day, reasonably can be expected to have the natural consequences of harassing

 Plaintiff which was the intent of Ocwen in order to elicit payment from Plaintiff for the Debt.

      29.       Ocwen, through its agents, representatives and/or employees acting within the

 scope of their authority thereby knowingly violated Florida Statutes §559.72(7).

      30.       As a direct and proximate result of the violation of the FCCPA by Ocwen,

 Plaintiff has been damaged. Ocwen’s phone calls harmed Plaintiff by (1) trespassing upon and


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 interfering with Plaintiff’s rights and interests in access to his cellular telephone and telephone

 line; (2) intruding upon Plaintiff’s seclusion and privacy; (3) wasting Plaintiff’s time and mental

 energy; (4) depleting the battery life on Plaintiff’s cellular telephone; (5) using memory storage

 space in Plaintiff’s cellular telephone; and (6) causing Plaintiff aggravation, indignation,

 humiliation, embarrassment, anxiety, anguish, depression, unwarranted stress and loss of

 enjoyment of life.

      31.          Plaintiff has hired Benjamin Law Practice, PLLC and The Law Firm of Anthony

 C. Norman, PLLC to represent Plaintiff in this action and has agreed to pay reasonable attorneys’

 fees and costs.

      32.          As a result of the above violations of the FCCPA, pursuant to Florida Statute

 §559.77(2), Plaintiff is entitled to recovery for actual damages, statutory damages of up to

 $1,000.00 per violation, together with reasonable attorneys’ fees and court costs.

        WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant,

 Ocwen Loan Servicing, LLC for actual damages, statutory damages, along with costs and

 reasonable attorneys’ fees pursuant to Florida Statutes § 559.77(2), and for such other and further

 relief as justice may require.

             COUNT II - VIOLATION OF FCCPA, FLORIDA STATUTES §559.72(9)

      33.          Plaintiff repeats, realleges and incorporates by reference herein paragraphs 1

 through 24 above.

       34.         Florida Statutes §559.72(9) states:

       “In collecting consumer debts, no person shall:

       (9) Claim, attempt, or threaten to enforce a debt when such person knows that
       the debt is not legitimate, or assert the existence of some other legal right when
       such person knows that the right does not exist.




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      35.       To state a claim for violation under § 559.72(9) of the FCCPA, it must be alleged

 that the defendant asserted a legal right that did not exist and that the defendant had actual

 knowledge that the right did not exist. Pollock v. Bay Area Credit Service, LLC, 2009 WL

 2475167 at * 9 (S.D. Fla. Aug. 13, 2009). An allegation that an attempt to collect a debt in

 violation of state or federal law is sufficient to state a claim that defendant asserted a legal right

 that did not exist. Brook v. Suncoast Schools, FCU, 2012 WL 6059199 at * 3 (M.D. Fla. Dec. 6,

 2012) (complaint stated a plausible claim for relief where plaintiff alleged that defendant

 asserted a legal right that did not exist by attempting to collect a debt in violation of the

 FDUTPA and the TCPA).

      36.       As set forth in paragraphs 8 through 24 above, Ocwen has on a multitude of

 occasions called Plaintiff’s cellular telephone in violation of the TCPA’s prohibition on auto-

 dialing cellphones without prior express consent.

      37.       Ocwen’s calling campaign also constitutes a violation of Florida’s Deceptive and

 Unfair Trade Practices Act (“FDUTPA”), Fla. Stat. § 501.201, et seq., which prohibits use of

 “unfair or deceptive acts or practices in the conduct of any trade or commerce.”

      38.       By attempting to collected a debt in violation of the TCPA and FDUTPA, Ocwen,

 through its agents, representatives and/or employees acting within the scope of their authority,

 asserted a legal right that did not exist in violation of Florida Statutes §559.72(9)

      39.       As a direct and proximate result of the violation of the FCCPA by Ocwen,

 Plaintiff has been damaged. Ocwen’s phone calls harmed Plaintiff by (1) trespassing upon and

 interfering with Plaintiff’s rights and interests in access to his cellular telephone and telephone

 line; (2) intruding upon Plaintiff’s seclusion and privacy; (3) wasting Plaintiff’s time and mental

 energy; (4) depleting the battery life on Plaintiff’s cellular telephone; (5) using memory storage




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 space in Plaintiff’s cellular telephone; and (6) causing Plaintiff aggravation, indignation,

 humiliation, embarrassment, anxiety, anguish, depression, unwarranted stress and loss of

 enjoyment of life.

       40.         As a result of the above violations of the FCCPA, pursuant to Florida Statute

 §559.77(2), Plaintiff is entitled to recovery for actual damages, statutory damages of up to

 $1,000.00, together with reasonable attorneys’ fees and court costs.

        WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant,

 Ocwen Loan Servicing, LLC for actual damages, statutory damages, along with costs and

 reasonable attorneys’ fees pursuant to Florida Statutes § 559.77(2), and for such other and further

 relief as justice may require.

                   COUNT III-VIOLATION OF THE FDCPA, 15 USC § 1692d(5)

      41.          Plaintiff repeats, realleges and incorporates by reference herein paragraphs 1

 through 24 above.

      42.          Ocwen, through its agents, representatives and/or employees acting within the

 scope of their authority, has violated the FDCPA in that Ocwen caused Plaintiff’s telephone with

 such frequency as to harass Plaintiff in contravention of 15 U.S.C. § 1692d, which states in

 pertinent part:

             A debt collector may not engage in any conduct the natural consequence of
             which is to harass, oppress, or abuse any person in connection with the
             collection of a debt. Without limiting the general application of the
             foregoing, the following conduct is a violation of this section:
             (5) Causing a telephone to ring or engaging any person in telephone
             conversation repeatedly or continuously with intent to annoy, abuse, or
             harass any person at the called number.




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         43.      Ocwen has on many occasions called Plaintiff by telephone directly, multiple

 times a day, attempting to collect the debt. By virtue of having to handle debt collection calls to

 Plaintiff's cellular phone multiple times a day, Plaintiff has been harassed and these calls have

 caused unnecessary strain and burden upon Plaintiff and Plaintiff's family.

         44.      Ocwen’s actions of calling Plaintiff continuously and regularly day after day,

 multiple times a day, reasonably can be expected to have the natural consequences of harassing

 Plaintiff, which was the intent of Ocwen in order to elicit payment from Plaintiff for the alleged

 debt.

         45.      Ocwen, through its agents, representatives and/or employees acting within the

 scope of their authority knowingly violated 15 U.S.C. § 1692d(5).

         46.      As a direct and proximate result of the violation of the FDCPA by Ocwen,

 Plaintiff has been damaged. The damages to Plaintiff include, but are not necessarily limited to,

 emotional distress in the form of aggravation, humiliation, embarrassment, anxiety, anguish,

 depression and loss of enjoyment of life.

         47.      Plaintiff has hired Benjamin Law Practice, PLLC and The Law Firm of Anthony

 C. Norman, PLLC to represent her in this action and has agreed to pay a reasonable attorneys’

 fee and costs.

         48.      Pursuant to 15 U.S.C. §1692k, Plaintiff is entitled to recover actual damages

 together with additional statutory damages up to $1,000.00, together with court costs and

 reasonable attorneys’ fees.

          WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant,

 Ocwen Loan Servicing, LLC for actual damages, statutory damages, along with costs and

 reasonable attorney's fees pursuant to 15 U.S.C. § 1692k, and for such other and further relief as




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  justice may require.

             COUNT IV- VIOLATION OF THE TCPA, 47 U.S.C § 227(b)(1)(A)(iii)

       49.       Plaintiff repeats, realleges and incorporates by reference herein paragraphs 1

  through 24 above.

       50.       Ocwen placed many non-emergency calls, including but not limited to the calls

  referenced above, to Plaintiff’s cellular telephone using an automatic telephone dialing system in

  violation of 47 U.S.C § 227(b)(1)(A)(iii).

       51.       It is a violation of the TCPA, 47 U.S.C. § 227(b) to call a person’s cellular

  telephone by using an automatic telephone dialing system or prerecorded message without that

  person’s prior express consent.

       52.       Plaintiff did not expressly authorize Ocwen to call his cellular telephone in

  service of Ocwen’s general business aims.        Further, Plaintiff’s instructions to cease calls

  effectively revoked any prior consent Ocwen may believe it had. See Osorio v. State Farm

  Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       53.       Upon information and belief, the aforesaid calls to Plaintiff’s cellular telephone

  were placed using an automated telephone dialing system and/or employed a prerecorded voice

  message. These calls bore telltale signs of an automation, such as a prerecorded message or a

  noticeable gap between picking up the call and a human being coming on the line.

       54.       According to findings by the Federal Communication Commission (“FCC”), the

  agency Congress vested with authority to issued regulations implementing the TCPA, such calls

  as those alleged herein are prohibited because, as Congress found, automated or prerecorded

  telephone calls are a greater nuisance and invasion of privacy, and such calls can be costly and

  inconvenient. Rules and Regulations Implementing the Telephone Consumer Protection Act of




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  1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd. 14014 (2003).

       55.       Ocwen’s method of contacting Plaintiff is indicative of its ability to dial numbers

  without any human intervention in the calling process, which the FCC has opined is the hallmark

  of an automatic telephone dialing system (i.e. auto-dialer). See In the Matter of Rules &

  Regulations Implementing The Telephone Consumer Protection Act of 2008, CG Docket No. 02-

  278, FCC 07-232 (1/4/08) ¶¶ 11-13; In the Matter of Rules & Regulations Implementing the

  Telephone Consumer Protection Act of 1991, 2003 WL 21517583, 18 F.C.C.R. 14014, ¶ 132

  (Fed. Commc’n Cmm’n July 3, 2003).

       56.       Under the TCPA, and pursuant to the FCC’s January 2008 Declaratory Ruling, the

  burden is on Ocwen to demonstrate that Plaintiff provided express consent within the meaning of

  the statute. See FCC Declaratory Ruling, 23 F.C.C.R. at 565 (¶ 10).

       57.       Ocwen, through its agents, representatives and/or employees acting within the

  scope of their authority, acted willfully and therefore intentionally violated the TCPA, 47 U.S.C

  § 227 (b)(1)(A)(iii). Pursuant to the FCC’s interpretation regarding willfulness, “willful or

  knowing” requires merely that “the violator knew that he was doing the act in question. . . . A

  violator need not know that his action or inaction constitutes a violation.” In re Dynasty Mortg.,

  L.L.C., 22 F.C.C. Rcd. 9453, 9470 n.86, 2007 WL 1427724 (F.C.C. May 14, 2007).

       58.       Congress enacted the TCPA to prevent real harm. Congress found that

  “automated or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type

  of call” and decided that “banning” such calls made without consent was “the only effective

  means of protecting telephone consumers from this nuisance and privacy invasion.” Pub. L. No.

  102-243, §§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227. See also Mims v. Arrow Fin.

  Servs., L.L.C., 132 S. Ct. 740, 744, 181 L. Ed. 2d 881 (2012) (“The Act bans certain practices




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  invasive of privacy”).

       59.        In sum, Ocwen made telephone calls to Plaintiff’s cellular telephone, which were

  either initiated by an automatic telephone dialing system and/or contained a pre-recorded

  message and were made without the prior express consent of Plaintiff.

       60.        Ocwen’s phone calls harmed Plaintiff by causing the very harm that Congress

  sought to prevent—a “nuisance and invasion of privacy.”

       61.        Ocwen’s phone calls also harmed Plaintiff by (1) trespassing upon and interfering

  with Plaintiff’s rights and interests in access to his cellular telephone and telephone line; (2)

  intruding upon Plaintiff’s seclusion and privacy; (3) wasting Plaintiff’s time and mental energy;

  (4) depleting the battery life on Plaintiff’s cellular telephone; (5) using memory storage space in

  Plaintiff’s cellular telephone; and (6) causing Plaintiff aggravation, indignation, humiliation,

  embarrassment, anxiety, anguish, depression, unwarranted stress and loss of enjoyment of life.

       62.        As a result of Ocwen’s violations of 47 U.S.C. § 227 et seq., Plaintiff is entitled to

  an award of $1,500.00 in statutory damages, for each and every willful or knowing violation,

  pursuant to 47 U.S.C. § 227(b)(3)(C), and $500.00 in statutory damages, for each and every

  negligent violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

       63.        Plaintiff is also entitled to injunctive relief prohibiting Ocwen from contacting the

  Plaintiff on his cellular phone using an automated dialing system pursuant to the 47 U.S.C. §

  227(b)(3)(a).

         WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant,

  Ocwen Loan Servicing, LLC for statutory damages of $1,500.00 for each and every violation, an

  order be entered enjoining Defendant from calling Plaintiff’s cellular telephone by use of an

  automatic dialing system, and for such other and further relief as justice may require.




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                               DEMAND FOR JURY TRIAL

        Plaintiff, Joe Santiago, hereby demands a trial by jury of all issues so triable.


                                       /s/ Anthony C. Norman
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